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IN THE UNITED STATES DISTRICT COURT See <7 ay
FOR THE NORTHERN DISTRICT OF OHIO ' WY),
EASTERN DIVISION . o7
CRAIG T. CONLEY : CASE NO. 5: 08 cv 622°

Plaintiff, - 3
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CLAYTON B. SMITH

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SUPP. TO MOTION TO DISMISS

Defendant,

Comes now, the defendant, Clayton B. Smith in pro se,
and adds the following authority to his Motion to Dismiss.
RULE:
Issues previously decided in a judicial or administrative
proceeding generally require that a Federal Court give the same preclusive
effect as would be given that judgement under the State in which the

judgement was rendered. See Rally Hill Prod. Inc. V. Bursack , 65 F3d.

51 (6th Cir. 1995).
ISSUE:

The plaintiff wants the defendant to be declared a vexatious
litigator and aside from his own ‘self serving’ cases cites no others to
this court. Under R.C 2323.52 if the conduct is not warranted under existing
law and cannot be supported by a good faith arguement, modification, or
reversal of an existing law then and only then could vexatious apply. However
that simply is not the case here. The issue was litigated and the court
found there was insufficient evidence to demonstrate the the same defendant
was vexatious based on the same conduct and the same factual situation, his
prior criminj|1 conviction.

CONCLUSION:
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This Court should dismiss this action based on the
conclusion of the Order of Aug. 4th, 2008 in the Stark County Court

of Common Pleas. See attached.

Respectfully submitted,

Lay B. Smith -

PO BOX 1000
FCI MORGANTOWN
MORGANTOWN, WV 26507

PROOF OF SERVICE

A true copy of this motion to dismiss was served upon
Attorney Robert Cyperski representing the plaintiff Craig T. Conley
on this 22Y day of March, 2008 by placing same into the mail box
with pre paid first class postage affixed thereon. : Robert Cyperski
1201 30th Street NW Canton Ohio in the basement 102.

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(b) The conduct is not warranted under existing law and cannot be
supported by a good faith argument for extension, modification. or
reversal of existing law.

(c) The conduct is imposed solely tor delay. See Castratare 2 lirban, 155

Ohio App.3d 597, 2003-Ohiv-6953 at Y52-55.

Vhe Court finds that Plaintiff Conley has failed to demonstrate that Defendant
Smith’s actions as described above meet the standard of “vexatious conduct.” The

- tilings of Defendant Smith de not shew that he has habitually, persistently. and without
reasonaide grounds engaged in vexatious conduct in civil actions before this court.
Rach filing relates to the same factual situation, Smith’s prior criminal conviction, and
may be warranted under existing flaw. Further, if the Court simply examines the
“number” of filings, Plaintiff and Defendant seem equally vexatious.’

Accordingly, itis ORDERED, ADIUDGED, and DECREED that Plaintiff's Motion
tor Summary fudgment is DENTED. Because the Court finds there is insufticient
evidence to demonstrate Delendant is a vexatious litigator pursuant ta B.C, 2323.52, the
Court hereby DISMISSES the above-entitled cause of action. Further, apon the Court's
me omotien and its inherent euthority to manage -its docket the Geaurt hereby

DISMISSES Defendant's counterclaims.

I ISSO ORDERED.

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JUDGE CURRAN

Judge Thomas Patrick Curran
Sitting by Assignment
hio Const. Art. IV, Sec. 6

Vypfrek
ae te ta,

Phe daskers of case nos, JOO30CVOISS4 and 2004 CVOLSSS clearly demonstrate ff

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